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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 2: 17-CV-14056-ROSENBERG/MAYNARD .

           GEORGE FRIEDEL,

                  Plaintiff,

            vs.

        PARK PLACE COMMUNITY, LLC,

          Defendant.
       _________________________ /

                                PART I- MAKING A D\VELLING UNAVAILABLE

       Do you find by a preponderance of the evidence:

       1.            That PARK PLACE took any action that made GEORGE FRIEDEL's home unavailable

       to him?

                    ANSWER:           Yes        )
                                                     X         No

                    If your answer is YES, please proceed to Question 2; if your answer is NO, please stop
                    here, and have the presiding juror sign and date this form.


       2.           That GEORGE FRIEDEL has a disability or handicap within the meaning of the Fair

       Housing Act?

                    ANSWER:           Yes        X             No

                  , If your answer is YES: ~lea~e pro~eed to Questi~n 3; if your answer is NO, please stop
                    here, and have the presidmgJuror s1gn and date this form.


      3.
                   That PARK PLACE would not have taken an adverse action against GEORGE FRIEDEL

      were it not for his disability-related need to live with his dog Maggie?


                  ANSWER:            Yes    )(
                                                             No
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                 If your answer is YES, please proceed to Question 4; if your answer is NO, please stop
                 here, and have the presiding juror sign and date this form.

          4.     That GEORGE FRIEDEL's dog, Maggie, alleviates one or more of the symptoms

          associated with GEORGE FRIEDEL's disability/handicap?

                 ANSWER:            Yes    X                  No

                 If your answer is YES, please proceed to Part II and Question 5; if your answer is NO,
                 please stop here, and have the presiding juror sign and date this form.


                            PART II-PARK PLACE'S AFFIRMATIVE DEFENSE

          Do you find by a preponderance of the evidence:

          5.     That GEORGE FRIEDEL's dog, Maggie, posed a direct threat to the health or safety of

          other individuals or that Maggie remaining in the Park Place Community would have resulted in

          substantial physical damage to the property of others, and that no reasonable accommodation

          would have eliminated or acceptably minimized the risk Maggie posed to other residents?

                 ANSWER:            Yes_k_                    No

                 If your answer is NO, please proceed to Part III and Question 6; if your answer is YES,
                 please stop here, and have the presiding juror sign and date this form.


                                              PART III-DAMAGES

         GEORGE FRIEDEL must prove the amount of damages as full, just, and reasonable

         compensation, by a preponderance of the evidence.

         6.      Should GEORGE FRIEDEL be awarded damages to compensate for emotional pain and

         mental anguish?

                ANSWER:            Yes- - -                  No

                If your answer is YES, in what amount?       $___________

                Please proceed to Part IV and Question 7.
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                                    PART IV- PUNITIVE DAMAGES

     GEORGE FRIEDEL must prove the amount of damages as full, just, and reasonable

     compensation, by a preponderance of the evidence.


     7.        Did PARK PLACE act with reckless disregard or callous indifference to GEORGE

     FRIEDEL when it required GEORGE FRIEDEL to remove his dog, Maggie, ·from Park Place or

     face eviction?

               ANSWER:           Yes- - -                No

               If YES, how much in punitive damages should GEORGE FRIEDEL receive from PARK
               PLACE?       $                                           .


     SO SAY WE ALL.



     Dated:



     Signed:
                      FufY Forepers~n   77
